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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division



 Intersections Inc. and Net Enforcers, Inc.,

                     Plaintiffs,                      Civil Action No. 1:09CV597 (LMB/TCB)
                v.

 Joseph C. Loomis and Jenni M. Loomis,

                     Defendants.


           PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ TRIAL EXHIBITS

        In accordance with the Court’s July 7, 2009 Order, Plaintiffs Intersections Inc. and Net

 Enforcers, Inc. (collectively, “Plaintiffs”) hereby object to Defendants Joseph C. Loomis’ and

 Jenni M. Loomis’ (collectively, “Defendants”) proposed trial exhibits as follows:

                                    GENERAL OBJECTIONS

        In general, in objecting to Defendants’ proposed trial exhibits, Plaintiffs have attempted

 to anticipate the likely proffered uses for Defendants’ proposed exhibits, but may not have

 anticipated all conceivable purposes for which Defendants may seek to introduce their proposed

 exhibits. Plaintiffs further note that a number of Defendants’ proposed exhibits have also been

 designated as exhibits by Plaintiffs (“common exhibits”). Because, under the Federal Rules of

 Evidence, (1) documents that are admissible on behalf of one party may not necessarily be

 admitted on behalf of another, and (2) documents admissible for certain purposes may not be

 admissible for other purposes, Plaintiffs reserve the right to object to Defendants’ use of any of

 the proposed exhibits (including common exhibits) to the extent that such proposed use by

 Defendants is impermissible in this case under the Federal Rules of Evidence.
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        In particular, Plaintiffs reserve the right to object to any of Defendants’ proposed exhibits

 on relevance grounds to the extent the scope of the trial may be affected by rulings on motions

 filed in this case or other developments in the litigation. Moreover, Plaintiffs have refrained

 from interposing hearsay objections as to certain proposed exhibits purportedly generated by

 Defendants. Plaintiffs, however, reserve the right to object to any use of “internal hearsay” in

 such documents, i.e., assertions recorded in a document but stated by an individual other than the

 document’s author and handwritten marginalia. Finally, Plaintiffs reserve the right to object to

 the use of any exhibit for which Defendants fail to lay a sufficient foundation at trial. The

 foregoing specific reservations of right are not intended to limit in any way Plaintiffs’ right to

 object to any impermissible use of exhibits at trial by Defendants.

                                    SPECIFIC OBJECTIONS

        Without limiting or waiving the foregoing general objections, Plaintiffs further object to

 each of Defendants’ proposed trial exhibits as follows:

        1.      Relevance.

        2.      Common exhibit (see general objections).

        3.      Authentication.

        4.      Common exhibit (see general objections).

        5.      Common exhibit (see general objections).

        6.      Foundation; authentication.

        7.      Foundation; authentication.

        8.      Foundation; authentication.

        9.      As to handwritten marginalia, authentication.

        10.     Foundation; authentication.




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       11.   Foundation; authentication.

       12.   Foundation; authentication.

       13.   Common exhibit (see general objections).

       14.   Common exhibit (see general objections).

       15.   Common exhibit (see general objections).

       16.   Common exhibit (see general objections).

       17.   Common exhibit (see general objections).

       18.   Common exhibit (see general objections).

       19.   Common exhibit (see general objections).

       20.   Common exhibit (see general objections).

       21.   Common exhibit (see general objections).

       22.   Common exhibit (see general objections).

       23.   Authentication.

       24.   Common exhibit (see general objections).

       25.   Relevance; foundation; authentication.

       26.   Common exhibit (see general objections).

       27.   Common exhibit (see general objections).

       28.   Common exhibit (see general objections).

       29.   Common exhibit (see general objections).

       30.   Common exhibit (see general objections).

       31.   Common exhibit (see general objections).

       32.   Common exhibit (see general objections).

       33.   Common exhibit (see general objections).




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       34.   Common exhibit (see general objections).

       35.   Common exhibit (see general objections).

       36.   Common exhibit (see general objections).

       37.   Common exhibit (see general objections).

       38.   Common exhibit (see general objections).

       39.   Common exhibit (see general objections).

       40.   Common exhibit (see general objections).

       41.   Common exhibit (see general objections).

       42.   Common exhibit (see general objections).

       43.   No objection.

       44.   Common exhibit (see general objections).

       45.   Common exhibit (see general objections).

       46.   Common exhibit (see general objections).

       47.   Foundation; authentication.

       48.   Common exhibit (see general objections).

       49.   Foundation; authentication.

       50.   Common exhibit (see general objections).

       51.   Common exhibit (see general objections).

       52.   Common exhibit (see general objections).

       53.   Common exhibit (see general objections).

       54.   Common exhibit (see general objections).

       55.   Common exhibit (see general objections).

       56.   Common exhibit (see general objections).




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       57.   Common exhibit (see general objections).

       58.   Foundation; authentication.

       59.   Common exhibit (see general objections).

       60.   Common exhibit (see general objections).

       61.   Common exhibit (see general objections).

       62.   Common exhibit (see general objections).

       63.   Common exhibit (see general objections).

       64.   Common exhibit (see general objections).

       65.   Common exhibit (see general objections).

       66.   Common exhibit (see general objections).

       67.   Common exhibit (see general objections).

       68.   Common exhibit (see general objections).

       69.   Common exhibit (see general objections).

       70.   Common exhibit (see general objections).

       71.   Common exhibit (see general objections).

       72.   Common exhibit (see general objections).

       73.   Common exhibit (see general objections).

       74.   Common exhibit (see general objections).

       75.   Common exhibit (see general objections).

       76.   Common exhibit (see general objections).

       77.   Common exhibit (see general objections).

       78.   Common exhibit (see general objections).

       79.   Common exhibit (see general objections).




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       80.    Foundation; authentication.

       81.    Foundation; authentication.

       82.    Common exhibit (see general objections).

       83.    Common exhibit (see general objections).

       84.    Common exhibit (see general objections).

       85.    Common exhibit (see general objections).

       86.    Common exhibit (see general objections).

       87.    Common exhibit (see general objections).

       88.    Common exhibit (see general objections).

       89.    Common exhibit (see general objections).

       90.    Common exhibit (see general objections).

       91.    Common exhibit (see general objections).

       92.    Common exhibit (see general objections).

       93.    Common exhibit (see general objections).

       94.    Common exhibit (see general objections).

       95.    Common exhibit (see general objections).

       96.    Common exhibit (see general objections).

       97.    Common exhibit (see general objections).

       98.    Common exhibit (see general objections).

       99.    Common exhibit (see general objections).

       100.   Common exhibit (see general objections).

       101.   Common exhibit (see general objections).

       102.   Common exhibit (see general objections).




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       103.   Foundation; authentication.

       104.   Relevance.

       105.   Foundation; authentication.

       106.   Relevance; foundation; authenticity; hearsay.

       107.   No objection.

       108.   Common exhibit (see general objections).

       109.   Foundation; authentication.

       110.   No objection.

       111.   Foundation; authentication.

       112.   Common exhibit (see general objections).

       113.   No objection.

       114.   No objection.

       115.   Foundation; authentication.

       116.   No objection.

       117.   No objection.

       118.   No objection.

       119.   Relevance; foundation; authentication.

       120.   Foundation; authentication.

       121.   No objection.

       122.   No objection.

       123.   No objection.

       124.   Common exhibit (see general objections).

       125.   Common exhibit (see general objections).




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       126.   No objection.

       127.   Relevance; authentication.

       128.   Common exhibit (see general objections).

       129.   No objection.

       130.   Common exhibit (see general objections).

       131.   No objection.

       132.   No objection.

       133.   Common exhibit (see general objections).

       134.   Common exhibit (see general objections).

       135.   No objection.

       136.   Common exhibit (see general objections).

       137.   Common exhibit (see general objections).

       138.   Common exhibit (see general objections).

       139.   No objection.

       140.   No objection.

       141.   No objection.

       142.   No objection.

       143.   No objection.

       144.   Foundation; authentication.

       145.   Hearsay; foundation; authentication.

       146.   No objection.

       147.   Foundation; authentication.

       148.   No exhibit was provided. All objections reserved.




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       149.   No exhibit was provided. All objections reserved.

       150.   Relevance.

       151.   Hearsay; foundation; authentication.

       152.   Hearsay; foundation; authentication.

       153.   Hearsay; foundation; authentication.

       154.   Foundation; authentication.

       155.   Foundation; authentication; hearsay; relevance.

       156.   Foundation; authentication; hearsay; relevance.

       157.   Relevance.

       158.   Common exhibit (see general objections).

       159.   Common exhibit (see general objections).

       160.   Common exhibit (see general objections).

       161.   Common exhibit (see general objections).

       162.   Common exhibit (see general objections).

       163.   Common exhibit (see general objections).

       164.   Common exhibit (see general objections).

       165.   Common exhibit (see general objections).

       166.   Common exhibit (see general objections).

       167.   Common exhibit (see general objections).

       168.   Relevance.

       169.   No objection.

       170.   No objection.

       171.   No objection.




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        172.   Foundation; authentication.

        173.   No objection.

        174.   No objection.

        175.   Common exhibit (see general objections).

        176.   No objection.

        177.   No objection.

        178.   No exhibit was provided. All objections reserved.

        179.   No exhibit was provided. All objections reserved.

        180.   No exhibit was provided. All objections reserved.

        181.   No exhibit was provided. All objections reserved.

        182.   No exhibit was provided. All objections reserved.

        183.   No exhibit was provided. All objections reserved.

        184.   No exhibit was provided. All objections reserved.

        185.   No exhibit was provided. All objections reserved.

        186.   No exhibit was provided. All objections reserved.

        187.   No exhibit was provided. All objections reserved.

        188.   No exhibit was provided. All objections reserved.

        “Sensei Enterprises, Inc. (Case No. 1740)” – No exhibit was provided. All objections
               reserved.

        189.   Relevance; foundation; authentication; hearsay.

        190.   Relevance; foundation; authentication; hearsay.

        191.   Relevance; foundation; authentication; hearsay.

        192.   Foundation; authentication.

        193.   No objection.



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         194.    Relevance.

         195.    Common exhibit (see general objections).

         196.    Relevance; foundation; authentication.

         197.    Relevance; foundation; authentication.

         198.    Common exhibit (see general objections).

         199.    Common exhibit (see general objections).

         200.    No objection.

         201.    No objection.

         202.    Common exhibit (see general objections).

         203.    No objection.

         204.    No objection.

         205.    Relevance.

         206.    Common exhibit (see general objections).

         207.    No objection.

         208.    Relevance.

         209.    Relevance.

         210.    Relevance; hearsay; foundation; authentication.

         211.    Relevance.

         Defendants’ 212.1 Foundation; authentication.

         400.    Relevance; foundation; authentication; hearsay.

         401.    Relevance; foundation; authentication; hearsay.



  1
   In numbering their trial exhibits, Plaintiffs inadvertently designated a different document as
  Exhibit 212. Plaintiffs, therefore, will refer to the two separate documents designated as Exhibit
  212 as “Plaintiffs’ Exhibit 212” and “Defendants’ Exhibit 212.”


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        402.   Relevance; foundation; authentication; hearsay.

        403.   Relevance; foundation; authentication; hearsay.

        404.   Relevance; foundation; authentication; hearsay.

        405.   Relevance; foundation; authentication; hearsay.

        406.   Relevance; foundation; authentication; hearsay.

        407.   Relevance.

        408.   Authentication.

        409.   No objection.

        410.   Relevance; foundation; authentication; hearsay.

        411.   Relevance; foundation; authentication; hearsay.

        412.   Relevance; foundation; authentication; hearsay.

        413.   No objection.

        414.   No objection.

        415.   Relevance; foundation; authentication; hearsay.

        416.   Foundation; authentication.

        417.   Relevance; authentication; foundation.

        418.   Relevance; foundation; authentication; hearsay.

        419.   Relevance; authentication; foundation.

        420.   Foundation; authentication; hearsay.

        421.   Foundation; authentication; hearsay.

        422.   Foundation; authentication; hearsay.

        423.   No objection.

        424.   Relevance; foundation; authentication; hearsay.




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        425.   Relevance; foundation; authentication; hearsay.

        426.   Relevance.

        427.   Relevance; foundation; authentication; hearsay.

        428.   Relevance; foundation; authentication; hearsay.

        429.   Foundation; authentication; hearsay.

        430.   Foundation; authentication.

        431.   Relevance; foundation; authentication; hearsay.

        432.   Relevance; foundation; authentication; hearsay.

        433.   Foundation; authentication.

        434.   Hearsay.

        435.   Hearsay.

        436.   Hearsay.

        437.   Hearsay.

        438.   Hearsay.

        439.   Hearsay.

        440.   Hearsay.

        441.   Hearsay.

        442.   Relevance.

        443.   Relevance.

        444.   Relevance; foundation; authentication; hearsay.

        445.   Relevance; foundation; authentication; hearsay.

        446.   Relevance.

        447.   Relevance.




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        448.   No objection.

        449.   Relevance.

        450.   Relevance; foundation; authentication.

        451.   No objection.

        452.   Foundation; authentication; relevance.

        453.   No objection.

        454.   Relevance; authentication; foundation.

        455.   Relevance; authentication; foundation.

        456.   Relevance; authentication; foundation; hearsay.

        457.   Relevance; foundation; authentication.

        458.   Foundation; authentication.

        459.   Foundation; authentication.

        460.   Foundation; authentication.

        461.   Foundation; authentication.

        462.   Foundation; authentication.

        463.   Foundation; authentication.

        464.   No objection.

        465.   Foundation; authentication.

        466.   Foundation; authentication.

        467.   Relevance.

        468.   No objection.

        469.   No objection.

        470.   No objection.




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        471.   Relevance; hearsay.

        472.   Foundation; authentication.

        473.   Foundation; authentication; relevance.

        474.   Relevance; hearsay.

        475.   Foundation; authentication.

        476.   Relevance.

        477.   Foundation; authentication; relevance.

        478.   Relevance.

        479.   Relevance.

        480.   No objection.

        481.   No objection.

        482.   Foundation; authentication.

        483.   Relevance; foundation; authentication.

        484.   Relevance; foundation; authentication.

        485.   Relevance.

        486.   No objection.

        487.   Relevance.

        488.   Relevance.

        489.   Relevance.

        490.   No objection.

        491.   Foundation; authentication.

        492.   Relevance.

        493.   Relevance.




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        494.   Relevance.

        495.   Relevance.

        496.   Relevance.

        497.   Foundation; authentication; relevance.

        498.   Relevance.

        499.   Relevance; foundation; authentication.

        500.   Foundation; authentication.

        501.   Foundation; authentication.

        502.   No objection.

        503.   Relevance.

        504.   Relevance; hearsay.

        505.   Relevance; foundation; authentication; hearsay.

        506.   Foundation; authentication; hearsay.

        507.   Foundation; authentication; relevance.

        508.   Hearsay.

        509.   Hearsay.

        510.   Relevance; hearsay.

        511.   Relevance; foundation; authentication; hearsay.

        512.   Relevance; foundation; authentication; hearsay.

        513.   Relevance; hearsay.

        514.   Relevance; hearsay.

        515.   Relevance; hearsay.

        516.   Hearsay.




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        517.   Hearsay.

        518.   No objection.

        519.   No objection.

        520.   Relevance; foundation; authentication; hearsay.

        521.   Foundation; authentication; relevance.

        522.   No objection.

        523.   Hearsay; relevance.

        524.   Relevance; hearsay.

        525.   Relevance.

        526.   Relevance; foundation; authentication.

        527.   Relevance; foundation; authentication.

        528.   Relevance.

        529.   Relevance.

        530.   Relevance.

        531.   Relevance.

        532.   No objection.

        533.   No objection.

        534.   Relevance; foundation; authentication; hearsay.

        535.   Hearsay.

        536.   Relevance; foundation; authentication; hearsay.

        537.   Relevance; foundation; authentication; hearsay.

        538.   Relevance; foundation; authentication; hearsay.

        539.   Hearsay.




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        540.   Relevance.

        541.   Relevance.

        542.   Relevance.

        543.   Relevance.

        544.   Relevance.

        545.   Relevance.

        546.   Relevance.

        547.   Relevance.

        548.   Relevance.

        549.   Relevance; hearsay.

        550.   Relevance.

        551.   Relevance; hearsay.

        552.   Foundation; authentication; relevance.

        553.   Foundation; authentication; relevance.

        554.   Foundation; authentication.

        555.   Foundation; authentication.

        556.   No objection.

        557.   Foundation; authentication.

        558.   Relevance; foundation; authentication; hearsay.

        559.   No objection.

        560.   No objection.

        561.   No objection.

        562.   Foundation; authentication.




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        563.   No objection.

        564.   Relevance; hearsay.

        565.   Foundation; authentication; relevance; hearsay.

        566.   Foundation; authentication.

        567.   Foundation; authentication.

        568.   Foundation; authentication.

        569.   Relevance; hearsay.

        570.   Relevance; foundation; authentication.

        571.   No objection.

        572.   No objection.

        573.   No objection.

        574.   No objection.

        575.   Relevance; foundation; authentication; hearsay.

        576.   Foundation; authentication.

        577.   Relevance; foundation; authentication; hearsay.

        578.   Relevance; foundation; authentication; hearsay.

        579.   No objection.

        580.   Relevance.

        581.   Relevance.

        582.   Relevance; hearsay.

        583.   Relevance.

        584.   No objection.

        585.   No objection.




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        586.   No objection.

        587.   No objection.

        588.   Foundation; authentication.

        589.   Foundation; authentication.

        590.   No objection.

        591.   Foundation; authentication.

        592.   Foundation; authentication.

        593.   Foundation; authentication.

        594.   Relevance; foundation; authentication.

        595.   No objection.

        596.   No objection.

        597.   No objection.

        598.   Relevance; hearsay.

        599.   Relevance; hearsay.

        600.   Relevance.

        601.   Foundation; authentication.

        602.   Foundation; authentication.

        603.   Relevance.

        604.   Foundation; authentication.

        605.   Foundation; authentication.

        606.   No objection.

        607.   No objection.

        608.   Foundation; authentication.




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        609.   Foundation; authentication.

        610.   Foundation; authentication.

        611.   No objection.

        612.   No objection.

        613.   Foundation; authentication.

        614.   Foundation; authentication.

        615.   No objection.

        616.   No objection.

        617.   Relevance; foundation; authentication; hearsay.

        618.   No objection.

        619.   Foundation; authentication.

        620.   No objection.

        621.   No objection.

        622.   Foundation; authentication.

        623.   Foundation; authentication.

        624.   Foundation; authentication; relevance; hearsay.

        625.   Foundation; authentication.

        626.   No objection.

        627.   Foundation; authentication; relevance.

        Expert Report of Stan Smith – hearsay.

        Expert Report of Jesse Lindmar – hearsay.




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  Dated: January 4, 2010             Respectfully submitted,


                                     By:        /s/
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 4th day of January, 20010, I caused the foregoing Plaintiffs’

  Objections to Defendants’ Trial Exhibits to be electronically filed with the Clerk of the Court

  using the CM/ECF system, which will then send a notification of such filing (NEF) to the

  following:

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                                                             /s/
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